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IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS

COUNTY DEPARTMENT - DOMESTIC RELATIONS DIVISION

IN RE: THE MARRIAGE OF:

PAUL KRILEY,

Petitioner,
-and-
ALENA KRILEY,

Respondent.

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No.: 2020 D 7036

Cal.: 97

ORDER OF RESPONDENT’S VOLUNTARY WITHDRAWAL
OF COUNT If OF MOTION FILED JANUARY 10, 2022

This Cause coming before the Court on Respondent’s, ALENA KRILEY’S Motion to
Withdraw, without prejudice, her Count IT (Count IT — Motion for Breach of Contract) of the

Defendant’s Alena Kriley Motion for Temporary Support and Breach of Contract and for

Contribution to Attorneys’ Fees and Costs (filed on 01/10/2022), pursuant to General Order 13,

electronic notice having been given to Petitioner through his attorneys, Petitioner not having any

objection to the entry thereof, the Court having jurisdiction over the parties and the subject matter,

and the Court being fully advised in the premises.

IT IS HEREBY ORDERED THAT:

Respondent’s, ALENA KRILEY’S Motion to Withdraw her Count Ll (Count II — Motion

for Breach of Contract) of the Defendant’s Alena Kriley Motion for Temporary Support and

Breach of Contract and for Contribution to Attorneys’ Fees and Costs (filed on 01/10/2022),

without prejudice, is GRANTED.

Prepared by:

Respondent Alena Kriley, Pro SE.

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Respondent: fransevna@yahoo.com

Attorney for Petitioner:
deanotaradash33@gmail.com
GAL: michael@mllfamilylaw.com

ENTERED:

ENTERED
Jucige Maritza Martinez-2131
SEP 02 2022

IRIS Y.MARTINEZ
CLERK OF THE CIRCUIT COURT
OF COOK COUNTY, IL

s/Maritza Martinez

2131

Judge Maritza Martinez

PLAINTIFF’S
EXHIBIT

Judge’s No.
